Case 08-14631-GMB   Doc 391     Filed 06/20/08 Entered 06/20/08 17:24:53   Desc Main
                              Document      Page 1 of 16
Case 08-14631-GMB   Doc 391     Filed 06/20/08 Entered 06/20/08 17:24:53   Desc Main
                              Document      Page 2 of 16
Case 08-14631-GMB   Doc 391     Filed 06/20/08 Entered 06/20/08 17:24:53   Desc Main
                              Document      Page 3 of 16
Case 08-14631-GMB   Doc 391     Filed 06/20/08 Entered 06/20/08 17:24:53   Desc Main
                              Document      Page 4 of 16
Case 08-14631-GMB   Doc 391     Filed 06/20/08 Entered 06/20/08 17:24:53   Desc Main
                              Document      Page 5 of 16
Case 08-14631-GMB   Doc 391     Filed 06/20/08 Entered 06/20/08 17:24:53   Desc Main
                              Document      Page 6 of 16
Case 08-14631-GMB   Doc 391     Filed 06/20/08 Entered 06/20/08 17:24:53   Desc Main
                              Document      Page 7 of 16
Case 08-14631-GMB   Doc 391     Filed 06/20/08 Entered 06/20/08 17:24:53   Desc Main
                              Document      Page 8 of 16
Case 08-14631-GMB   Doc 391     Filed 06/20/08 Entered 06/20/08 17:24:53   Desc Main
                              Document      Page 9 of 16
Case 08-14631-GMB   Doc 391 Filed 06/20/08 Entered 06/20/08 17:24:53   Desc Main
                           Document    Page 10 of 16
Case 08-14631-GMB   Doc 391 Filed 06/20/08 Entered 06/20/08 17:24:53   Desc Main
                           Document    Page 11 of 16
Case 08-14631-GMB   Doc 391 Filed 06/20/08 Entered 06/20/08 17:24:53   Desc Main
                           Document    Page 12 of 16
Case 08-14631-GMB   Doc 391 Filed 06/20/08 Entered 06/20/08 17:24:53   Desc Main
                           Document    Page 13 of 16
Case 08-14631-GMB   Doc 391 Filed 06/20/08 Entered 06/20/08 17:24:53   Desc Main
                           Document    Page 14 of 16
Case 08-14631-GMB   Doc 391 Filed 06/20/08 Entered 06/20/08 17:24:53   Desc Main
                           Document    Page 15 of 16
Case 08-14631-GMB   Doc 391 Filed 06/20/08 Entered 06/20/08 17:24:53   Desc Main
                           Document    Page 16 of 16
